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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

   PERSONALIZED MEDIA                               §
   COMMUNICATIONS, LLC,                             §
                                                    §
          Plaintiff,                                §
                                                    §
   v.                                               §     Case No. 2:15-cv-1366-JRG-RSP
                                                    §
   APPLE INC.,                                      §
                                                    §
          Defendant.                                §

                              REPORT AND RECOMMENDATION

          Before the Court is Defendant Apple Inc.’s (“Apple”) Rule 12(b)(6) Motion to Dismiss

   for Failure to State a Claim. (Dkt. No. 34.) Apple contends that all claims in the four asserted

   patents are patent-ineligible under § 101. Apple further contends issue preclusion bars Plaintiff

   Personalized Media Communications, LLC (“PMC”) from asserting the claims in U.S. Patent

   No. 8,559,635 (the “’635 patent”) and U.S. Patent No. 8,191,091 (the “’091 patent”) are patent-

   eligible. The Court has considered the arguments and finds that Apple’s Motion to Dismiss (Dkt.

   No. 34) should be DENIED.

                                    RULE 12(b)(6) STANDARD

          Rule 8(a) requires “a short and plain statement of the claims showing that the pleader is

   entitled to relief.” Fed. R. Civ. P. 8(a)(2). Rule 12(b)(6) permits a party to move to dismiss a

   claim if the pleader does not meet the conditions of Rule 8(a) and has “fail[ed] to state a claim

   upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). When considering a Rule 12(b)(6)

   motion a court must assume that all well-pled facts are true and view them in the light most

   favorable to the non-moving party. See Bowlby v. City of Aberdeen, 681 F.3d 215, 218 (5th Cir.

   2012). The Court must decide whether those facts state a claim for relief that is plausible on its

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   face. See Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2007). “A claim has facial plausibility

   when the pleaded factual content allows the court to draw the reasonable inference that the

   defendant is liable for the misconduct alleged.” Bowlby, 681 F.3d at 217 (quoting Ashcroft v.

   Iqbal, 556 U.S. 662, 678 (2009)).

                                     COLLATERAL ESTOPPEL

   I.     LEGAL STANDARD

          In a patent infringement case, Fifth Circuit law provides the standard for issue preclusion

   and Federal Circuit law provides the standard on substantive issues of patent law. See Soverain

   Software LLC v. Victoria Secret Direct Brand Mgmt., 778 F.3d 1311, 1314 (Fed. Cir. 2015). The

   Fifth Circuit has held collateral estoppel applies if: “(1) the issue under consideration is identical

   to that litigated in the prior action; (2) the issue was fully and vigorously litigated in the prior

   action; (3) the issue was necessary to support the judgment in the prior case; and (4) there is no

   special circumstance that would make it unfair to apply the doctrine.” Winters v. Diamond

   Shamrock Chemical Co., 149 F.3d 387, 391 (5th Cir. 1998); see State Farm Mut. Auto Ins. Co. v.

   LogisticCare Sols., LLC, 751 F.3d 684, 689 (Fed. Cir. 2014) (listing the elements of collateral

   estoppel).

   II.    ANALYSIS

          Apple states that collateral estoppel bars PMC from asserting that the claims in the ’635

   patent and the ’091 patent are patent-eligible under § 101. Apple notes that a Delaware court in

   Personalized Media Communications, LLC v. Amazon.com, Inc., found that claim 1 of U.S.

   Patent No. 7,801,304 (the “’304 patent”) was representative of all claims in the ’304 patent. The

   Delaware court then found that claim 1 of the ’304 patent was patent-ineligible under § 101. See




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   Personalized Media Communications, LLC v. Amazon.com, Inc., 161 F. Supp. 3d 325, 332–333

   (D. Del. 2015).

          Apple contends that claim 1 of the ’304 patent is indistinguishable from the claims in the

   ’635 patent and the ’091 patent in this case. Specifically, Apple point out that “[c]laim 2 of the

   ’635 patent asserted by PMC . . . is virtually word-for-word identical to [] claim 1 of the ’304

   patent . . . .” (Dkt. No. 34 at 11.) Apple also asserts that claim 1 of the ’304 patent is materially

   identical to claim 1 of the ’635 patent and claim 13 of the ’091 patent. (See Dkt. No. 34 at 12–

   14.) Apple contends because claim 1 of the ’304 patent, claim 1 of the ’635 patent, and claim 13

   of the ’091 patent are similar, the issue of the patent-eligibility of the claims in the ’635 patent

   and the ‘091 patent were argued and decided by the Delaware court. Apple contends for this

   reason that collateral estoppel bars PMC from asserting that the ’635 patent and the ’091 patent

   are directed to patent-eligible subject matter.

          Under Federal Circuit law, collateral estoppel can apply when an issue is fully argued,

   finally decided, and necessary to a prior judgment. A ruling on an issue in a prior judgment can

   have preclusive effect even if the issue is raised in a later case involving different patents and

   different claims. See Ohio Willow Wood Co. v. Alps S., L.L.C., 735 F.3d 1333, 1342 (Fed Cir.

   2013). This is because “[i]t is the issues litigated, not the specific claims around which the issues

   were framed, that is determinative” of whether collateral estoppel should apply. Aspex Eyewear,

   Inc. v. Zenni Optical Inc., 713 F.3d 1377, 1382 (Fed. Cir. 2013). For example, as to a prior

   judgement of obviousness, “[i]f the differences between the unadjudicated patent claims and

   adjudicated patent claims do not materially alter the question of invalidity, collateral estoppel

   applies.” Ohio Willow, 735 F.3d at 1342.




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             The Court finds that collateral estoppel does not bar PMC from arguing that claim 1 of

   the ’635 patent and claim 13 of the ’091 patent are patent-eligible under § 101. Apple has not

   shown that claim 1 of the ’635 patent and claim 13 of the ’091 patent are materially the same

   as the claim the Delaware court found ineligible in Personalized Media Communications, LLC

   v. Amazon.com, Inc. (See Dkt. No. 34 at 12–14.)

             First, Apple paraphrases the elements of claim 1 of the ’635 patent and contends that they

   are only “minor wording differences” from the elements of the claim the Delaware court found

   patent-ineligible. Apple further contends that these “minor differences” make “claim 1 of the

   ’635 patent [] actually broader than invalidated claim 1 of the ’304 patent.” (Dkt. No. 34 at 13.)

   PMC responds by pointing out that, for example, claim 1 of the ’635 patent, unlike claim of the

   ’304 patent, recites “form[ing] decrypted programming based on said control signal.” (Dkt. No.

   83 at 11.) PMC contends this element makes a difference in the patent-eligibility analysis

   because “form[ing] decrypted programming” can “go[] beyond the step of ‘decrypting’ and [can]

   further require[] additional post-decryption processing, such as reassembly of decrypted

   information in order to make the ‘decrypted programming’ ready for presentation.” (Dkt. No. 83

   at 11.)

             The Court finds Apple has not shown how claim 1 of the ’304 patent and claim 1 of the

   ’635 patent are materially the same. The Delaware court carefully held that claim 1 of the ’304

   patent was directed to the abstract idea of “decryption.” PMC’s expert contends that claim 1 of

   the ’635 patent, however, contains a “to form decrypted programming” element which causes the

   claim to be directed to something other than “decryption.” On a motion to dismiss all factual

   disputes must be resolved in favor of the plaintiff. Accordingly, the Court finds that Apple has

   not shown that claim 1 of the ’304 patent and claim 1 of the ’635 patent are materially the same



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   despite at least this difference. Thus, the Court finds that the Delaware court’s ruling on claim 1

   the ’304 patent does not collaterally estop PMC from arguing that claim 1 of the ’635 patent is

   patent-eligible under § 101.

          Second, Apple provides a high-level description of the elements of claim 13 of the ’091

   patent and asserts those elements are analogous to the elements of claim 1 of the ’304 patent

   which the Delaware court found patent-ineligible. (Dkt. No. 34 at 13–14.) PMC contends in

   response that “[c]laim 13 of the ’091 Patent also includes two method steps that are

   completely absent from claim 1 of the ’304 Patent, and as a result claim 13 ‘recites a

   significantly different decryption procedure in which the receiver station must first

   determine how to locate ‘a first decryption key’ and then locate the key accordingly (i.e.,

   ‘based on said step of determining’).’” (Dkt. No. 83 at 10.)

          The Court finds Apple has not shown how claim 1 of the ’304 patent and claim 13 of the

   ’091 patent are materially the same. The Delaware court held that claim 1 of the ’304 patent was

   directed to the idea of “decryption.” PMC points out that claim 13 of the ’091 patent recites

   elements directed to locating a “first decryption key.” A claim directed to “decryption” and one

   directed to locating a “decryption key” can be seen as related but distinct claims. Since, on a

   motion to dismiss all factual disputes must be resolved in favor of the plaintiff, the Court finds

   Apple has not shown that claim 1 of the ’304 patent and claim 13 of the ’091 patent are

   materially the same despite this difference. The Court finds that the Delaware court’s ruling on

   the ’304 patent does not collaterally estop PMC from arguing that claim 13 of the ’091 patent is

   patent-eligible under § 101.

          Finally, the Court agrees with Apple that claim 1 of the ’304 patent and claim 2 of the

   ’635 patent are nearly identical. The Court, however, finds that it is unable to determine whether



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   the extra “decryptor” limitation in claim 2 of the ’635 patent meaningfully changes the patent-

   eligibility analysis of the claim. Thus, the Court finds that the collateral estoppel effect of the

   Delaware court’s ruling as to claim 2 of the ’635 patent should be denied for now and should be

   deferred until summary judgment. This is the most prudent course of action since it will allow

   for a more complete development of the record and, since the Delaware court’s ruling is

   currently on appeal at the Federal Circuit, potentially allow the Court to receive further guidance

   on the matter from the higher court. 1

                                ELIGIBILITY UNDER 35 U.S.C. § 101

   I.       LEGAL STANDARD

            Section 101 of the Patent Act lists what is eligible for patent protection. The statute says:

   “Whoever invents or discovers any new and useful process, machine, manufacture, or

   composition of matter, or any new and useful improvement thereof, may obtain a patent therefor,

   subject to the conditions and requirements of this title.” 35 U.S.C. § 101.

            The Supreme Court has held that under § 101 there are three classes of inventions that are

   patent ineligible. Those classes of inventions are directed to laws of nature, natural phenomena,

   and abstract ideas. Bilski v. Kappos, 561 U.S. 593, 601 (2010). In Mayo Collaborative Services

   v. Prometheus Laboratories, Inc., 132 S. Ct. 1289, 1296–97 (2012), the Supreme Court set out a

   two-step test for distinguishing patents that claim patent-ineligible laws of nature, natural

   phenomena, or abstract ideas from patents that claim patent-eligible applications of those

   concepts.

            The first step of Mayo requires a court to determine if the claims are directed to a law of

   nature, natural phenomena, or abstract idea. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct.



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       The claims are reproduced in full in Appendix A to the Report and Recommendation.
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   2347, 2355 (2014). “If not, the claims pass muster under § 101.” Ultramercial, Inc. v. Hulu,

   LLC, 772 F.3d 709, 714 (Fed. Cir. 2014). In making this determination, the court looks at what

   the claims cover. See id. at 714 (“We first examine the claims because claims are the definition

   of what a patent is intended to cover.”). “[T]he ‘directed to’ inquiry applies a stage-one filter to

   claims, considered in light of the specification,” and asks “whether ‘their character as a whole is

   directed to excluded subject matter.’” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335 (Fed.

   Cir. 2016) (quoting Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1346 (Fed.

   Cir. 2015)).

          For example, in Bilski, the Supreme Court found patent-ineligible “[c]laims 1 and 4 in

   petitioners’ application” because the claims merely “explain[ed] the basic concept of hedging, or

   protecting against risk.” Bilski, 561 U.S. at 611. Similarly, in Ultramercial, the Federal Circuit

   held patent-ineligible a claim describing the abstract idea of “displaying an advertisement in

   exchange for access to copyrighted media.” Ultramercial, 772 F.3d at 714. Conversely, in

   Enfish, the Federal Circuit found patent-eligible a claim that did not describe an abstract idea but

   described a “data structure designed to improve the way a computer stores and retrieves data in

   memory.” Enfish, 822 F.3d at 1339.

          A court applies the second step of Mayo only when it finds that the claims are directed to

   a law of nature, natural phenomena, or abstract idea in the first step. Alice, 134 S. Ct. at 2355.

   The second step requires the court to determine if the elements of the claim individually, or as an

   ordered combination, “transform the nature of the claim” into a patent-eligible application. Id. In

   determining if the claim is transformed, “[t]he cases most directly on point are Diehr and Flook,

   two cases in which the [Supreme] Court reached opposite conclusions about the patent eligibility

   of processes that embodied the equivalent of natural laws.” Mayo, 132 S. Ct. at 1298; see Alice,



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   134 S. Ct. at 2355 (“We have described step two of this analysis as a search for an ‘inventive

   concept.’”).

          In Diehr, the Court “found [that an] overall process [was] patent eligible because of the

   way the additional steps of the process integrated [an] equation into the process as a whole.”

   Mayo, 132 S. Ct. at 1298 (citing Diamond v. Diehr, 450 U.S. 175, 187 (1918)); see Mayo, 132 S.

   Ct. at 1299 (“It nowhere suggested that all these steps, or at least the combination of those steps,

   were in context obvious, already in use, or purely conventional.”). In Flook, the Court found that

   a process was patent-ineligible because the additional steps amounted to nothing more than

   “insignificant post-solution activity.” Diehr, 450 U.S. at 191–92 (citing Parker v. Flook, 437

   U.S. 584, 590 (1978)).

          In sum, a claim may be patent-eligible when the “claimed process include[s] not only a

   law of nature but also several unconventional steps . . . that confine[] the claims to a particular,

   useful application of the principle.” Mayo, 132 S. Ct. at 1300; see DDR Holdings, LLC v.

   Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014) (“[T]he ’399 patent’s claims address the

   problem of retaining website visitors that, if adhering to the routine, conventional functioning of

   Internet hyperlink protocol, would be instantly transported away from a host’s website after

   ‘clicking’ on an advertisement and activating a hyperlink.”); Bascom Glob. Internet Servs. v.

   AT&T Mobility LLC, Case No. 2015-1763, 2016 WL 3514158, at *7 (Fed. Cir. Jun. 27, 2016)

   (“Filtering content on the Internet was already a known concept, and the patent describes how its

   particular arrangement of elements is a technical improvement over prior art ways of filtering

   such content.”). However, a claim remains patent-ineligible if it describes “‘[p]ost-solution

   activity’ that is purely ‘conventional or obvious.’” Mayo, 132 S. Ct. at 1299.




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   II.    ANALYSIS

          A.      The ’635 patent and the ’091 patent

          Apple asserts “there is no question that on the merits the asserted claims of the ’635 and

   ’091 patents are invalid under § 101 for claiming ineligible subject matter.” (Dkt. No. 34 at 16.)

   Apple contends the claims are “directed to the abstract idea of converting information from one

   format to another (i.e., decrypting information)” and the “additional elements of the claims,

   individually and in combination, do not recite an inventive concept that ‘transforms’ the nature

   of the claims into a patent-eligible application.” (Dkt. No. 34 at 17.) 2

                  1.      The ’635 patent

          Apple asserts that claim 1 represents all claims in the ’635 patent. Apple states that claim

   1 itself shows the claim is directed to the abstract idea of “decrypting encrypted information” or

   “converting information from one format to another.” Apple points out that all of the elements in

   claim 1 relate to “converting information” between formats. (Dkt. No. 34 at 18.) For example,

   Apple states that claim 1 requires “receiving encrypted digital programming, detecting a control

   signal in the programming, decrypting the control signal, decrypting the encrypted programming

   based on the control signal, and presenting the decrypted programming.” (Dkt. No. 34 at 18.)

          Furthermore, Apple asserts that claim 1 does not contain an inventive concept which

   transforms the claim into patent-eligible subject matter. According to Apple, the claim recites

   “well-understood, routine, and conventional activities commonly used in the industry.” (Dkt. No.

   34 at 21.) Apple, for example, contends the “decryptor” and “controller” elements of claim 1




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     Consistent with the statements above, this part of the Report and Recommendation does not
   apply to claim 2 of the ’635 patent. The eligibility of claim 2 of the ’635 patent is deferred until
   summary judgment.
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 would have been “standard,” “conventional,” and “well-known in the art” at the time of

 invention. (Dkt. No. 34 at 21.)

         Claim 1 of the ’635 patent describes:

                  1. A method for controlling the decryption of encrypted
                  programming at a subscriber station, said method comprising the
                  steps of:
                          receiving encrypted digital programming, said encrypted
                            digital programming having an encrypted digital
                            control signal;
                          detecting said control signal;
                          passing said control signal to a decryptor that decrypts
                            encrypted digital data at said subscriber station;
                          decrypting said control signal;
                          decrypting said encrypted digital programming to form
                            decrypted programming based on said control signal;
                            and
                          presenting said decrypted programming to a viewer or
                            listener.

(’635 patent col. 285, l. 59–col. 286, l. 7.)

         The Court finds the elements of claim 1 show that the claim is directed to a method of

 using a “control signal” associated with “digital programming” to “decrypt programming”

 “based on” the “control signal.” (’635 patent col. 285, ll. 62–64; col. 286, ll. 3–4.) The Court

 finds that claim 1 is not directed to “converting information from one format to another.” (Dkt.

 No. 34 at 17.)

          The words in claim 1 show that it is directed to a method of using a “control signal”

 associated with “digital programming” to “decrypt programming” “based on” the “control

 signal.” First, the preamble of the claim states the claim is directed to “a method for controlling

 the decryption of encrypted programming.” The word “controlling” suggests the invention as a

 whole is directed to “controlling” operations including decryption. Second, and relatedly, the

 elements of the claim show that the “control signal” is what allows a practitioner of the method



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to “control” decryption. The claim recites the “control signal” in five of six steps. Furthermore,

all five of the steps describe operations on the “control signal.” Step one recites receiving the

“control signal. Step two recites detecting the “control signal.” Step three says to pass the

“control signal” to a decryptor. Step four states the “control signal” is decrypted. Finally, step

five recites decrypting “digital programming” “based on” the “control signal.” Because all of the

key elements in claim 1 address a “control signal” the Court finds that claim 1 is directed to

using a “control signal” associated with “encrypted digital programming” to generate “decrypted

programming” “based on” the “control signal.”

        Having found that claim 1 is directed to using a “control signal” associated with “digital

programming” to “decrypt programming” “based on” the “control signal,” the Court finds that

claim 1 is not directed to an abstract idea under step one of Mayo. Instead, the claim and the

specification show that using a “control signal” to control decryption improves the way in which

“encrypted digital programming” is delivered. The ’635 patent states that “control signals” can

improve the delivery of “encrypted digital programming” in at least two ways.

        First, claim 1 teaches that a “control signal” should be transmitted with the “digital

programming.” The ’635 patent states that transmitting a “control signal” with the programming

enhances the reliability of its delivery. According to the patent, a “control signal” that is sent

with the programming “cannot become separated inadvertently from the programming and,

thereby, inhibit automatic processing. [The signal can] occur at precise times in programming

and can synchronize the operation of receiver station apparatus to the timing of programming

transmission.” (’635 patent col. 7, ll. 51–56.) That suggests sending a “control signal” with the

programming allows for greater reliability which, in turn, increases the processes a “control

signal” can control.



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        Second, the claim states that the “digital programming” should be decrypted “based on”

the “control signal.” The specification suggests decrypting “digital programming” “based on” the

“control signal” is one way to make a receiving device automatically decrypt transmitted data.

For example, the specification states that a receiving device can be preprogrammed with the

information needed to decrypt data. The receiving device can then be designed so that when it

receives a “control signal,” it responds by “automatically [] execut[ing] a decryption sequence at

signal processor, 200, that is fully automatic and for which all apparatus are preprogrammed.”

(’635 patent col. 75, ll. 18–22; see ’635 patent col. 75, ll. 23–45.) See, e.g., Enfish, 822 F.3d at

1337 (“[O]ur conclusion that the claims are directed to an improvement of an existing

technology is bolstered by the specification’s teachings that the claimed invention achieves other

benefits over conventional databases, such as increased flexibility, faster search times, and

smaller memory requirements.”). In sum, the Court finds that claim 1 of the ’635 patent is

directed to using a “control signal” associated with “digital programming” to “decrypt

programming” “based on” the “control signal.” Accordingly, the Court further finds that this is

not an abstract idea under Mayo step 1 and that Apple has not shown the claims in the ’635

patent are patent-ineligible under § 101.

        Even if claim 1 was directed at an abstract idea such as “converting information from

one format to another,” the Court finds the additional elements of the claim would transform the

claim into a patent-eligible application of that idea. See Alice, 134 S. Ct. at 2355. Principally, the

Court finds that the elements of the claim are arranged in a way that Apple has not shown is

conventional or generic.

        The parties should agree that claim 1 of the ’635 patent lists several conventional or

generic elements. “Digital programming,” “encryption,” and “decryption” all existed before the



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priority date of the ’635 patent. Furthermore, the claim contains elements, like “control

signal,” that may or may not have existed before the claimed invention was conceived. PMC

and Apple do not seek a construction for “control signal.” So the Court just notes as a general

matter that a “control signal” can be described as a signal that is used to direct “computers to

generate and transmit programming” or used to direct “receiver apparatus to operate on the

basis of programming and information received at widely separated times.” (See ’635 patent

col. 6, ll. 40–46.)

        Apple has not shown why the conventional and generic claim elements described above

must be arranged as they are recited in claim 1 of the ’635 patent. Apple has not shown that it is

conventional or generic to transmit and receive “encrypted digital programming having an

encrypted digital control signal.” Likewise, Apple has not shown that “decrypting” “encrypted

digital programming” to form “decrypted programming” must always be “based on” a “control

signal.” As the Federal Circuit held in Bascom, “an inventive concept can be found in the non-

conventional and non-generic arrangement of known, conventional pieces.” Bascom Glob.

Internet Servs. v. AT&T Mobility LLC, Case No. 2015-1763, 2016 WL 3514158, at *6 (Fed. Cir.

Jun. 27, 2016).

                  2.   The ’091 patent

       Apple asserts that claim 13 represents all of the claims in the ’091 patent. Apple contends

claim 13 is directed to the abstract idea of “converting information from one format to another,

i.e., decrypting information.” Apple asserts the claim “focuses on the abstract idea of decrypting

encrypted information, rather than the physical system or the specific software that processes and

decrypts the information.” (Dkt. No. 34 at 18–19.)




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        Furthermore, Apple contends that claim 13 does not recite an inventive concept because

it includes steps like “receiving,” “detecting,” and “passing” a signal. Those steps were known in

the art before the priority date of the ’091 patent. (Dkt. No. 34 at 22.) Apple also notes that

before the priority date, “determining” and “locating” a decryption key was known in the art.

(Dkt. No. 34 at 23.)

        Claim 13 of the ’091 patent recites:

                13. A method of decrypting programming at a receiver station, said
                method comprising the steps of:
                       receiving an encrypted digital information transmission
                         including encrypted information;
                       detecting in said encrypted digital information transmission
                         the presence of an instruct-to-enable signal;
                       passing said instruct-to-enable signal to a processor;
                       determining a fashion in which said receiver station locates
                         a first decryption key by processing said instruct-to
                         enable signal;
                       locating said first decryption key based on said step of
                         determining;
                       decrypting said encrypted information using said first
                         decryption key; and
                       outputting said programming based on said step of
                         decrypting.

(’091 patent col. 285, l. 61–col. 286, l. 9.)

        The Court finds the elements of claim 13 show that the claim is directed to a method of

using an “instruct-to-enable signal” included in “digital information” to locate a “decryption

key” that can decrypt “encrypted information.” (’091 patent col. 285, l. 61–col. 286, l. 9.) The

Court finds that claim 13 is not directed to “converting information from one format to another.”

(Dkt. No. 34 at 17.)

         The words in claim 13 show the claim is directed to a method of using an “instruct-to-

enable signal” included in “digital information” to locate a “decryption key” that can decrypt

“encrypted information.” Claim 13 directly recites an “instruct-to-enable signal” in three of its

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seven steps and implicitly recites to an “instruct-to-enable signal” in two more steps. Steps two,

three, and four recite operations related to the “instruct-to-enable signal.” Step two says to detect

the “instruct-to-enable signal.” Step three says to pass the “instruct-to-enable signal.” Step four

requires processing the “instruct-to-enable signal” so that the “receiver station” can locate “a first

decryption key.”

        Furthermore, steps one and five implicitly recite an “instruct to enable signal.” Step one

requires “receiving an encrypted digital information transmission.” This “receiving” step, by

implication, includes “receiving” an “instruct-to-enable signal” because the next step, step two,

requires the “instruct-to-enable signal” be “detected” in “said encrypted digital information

transmission.” Step five also implicitly includes an “instruct to enable signal.” The step recites

“locating said first decryption key based on said step of determining.” The phrase “said step of

determining” refers back to step four which recites “[d]etermining a fashion in which [a] receiver

station locates a first decryption key by processing said instruct-to-enable signal.” The Court thus

finds the key elements in claim 13 recite operations related to the “instruct-to-enable signal.” The

claim is directed to using an “instruct-to-enable signal” in “digital information” to “determine a

fashion” in which a station “locates” a “decryption key” that can then be used to decrypt

“encrypted information.”

        The Court finds that claim 13 is directed to using an “instruct-to-enable signal” included

in “digital information” to “determine a fashion” in which a station “locates” a “decryption key”

that can decrypt “encrypted information.” The Court further finds that the claim is not an abstract

idea under step one of Mayo. Instead, claim 13 describes an improvement to the delivery of

“instruct-to-enable signals” and a technical way to decrypt transmitted information.




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        First, claim 1 teaches the “instruct-to-enable signal” should be “in” the “encrypted

digital information transmission.” Like the “control signal” of the ’635 patent, the ’091 patent

says that transmitting the “instruct-to-enable signal” in the “information transmission” improves

the reliability of the signal’s delivery. The patent states the improved delivery process increases

the number of functions the “instruct-to-enable signal” can control because the signal can “occur

at precise times in programming and can synchronize the operation of receiver station apparatus

to the timing of programming transmission.” (’091 patent col. 7, ll. 51–56.)

        Second, the claim requires a “receiver station” that is able to “locate[] a first decryption

key” by processing the “instruct-to-enable signal.” The specification shows that decrypting

“digital programming” “based on” the “control signal” can be a technical solution for causing a

receiving device to decrypt a transmission. The ’091 patent, for example, teaches an embodiment

employing this solution. The embodiment states that the “instruct-to-enable” signal “causes

controller, 20, to execute particular preprogrammed decrypt-with-J [(a decryption key titled “J”)]

instructions. Among said preprogrammed instructions is key information of J, and said

instructions cause controller, 20, automatically to select and transfer said key information to

decryptor, 10.” (’091 patent col. 75, ll. 43–59.) See, e.g., Enfish, 822 F.3d at 1337 (“[O]ur

conclusion that the claims are directed to an improvement of an existing technology is bolstered

by the specification’s teachings that the claimed invention achieves other benefits over

conventional databases, such as increased flexibility, faster search times, and smaller memory

requirements.”). That passage teaches that an “instruct-to-enable signal” can cause a receiving

device to run a routine that retrieves encryption key “J” and then transfer the key to the decryptor

for further use. In sum, the Court finds that claim 13 of the ’091 patent is directed to using an

“instruct-to-enable signal” in “digital information” to “determine a fashion” in which a station



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“locates” a “decryption key” that can decrypt “encrypted information.” The Court finds this is

not an abstract idea under Mayo step 1 and the ’091 patent does not claim an abstract idea.

        Even if claim 13 were directed to an abstract idea, the Court finds that the additional

elements of the claim to transform it into a patent-eligible application of that idea. See Alice, 134

S. Ct. at 2355. Principally, the Court finds the elements of the claim are arranged in a way that

Apple has not shown is conventional or generic.

        As with the ’635 patent Apple has pointed out that many of the elements of the claim

were known in the art before the priority date of the ’091 patent. Again, however, Apple has not

shown why these elements must be arranged as they recited in claim 13. Apple has not shown it

was conventional or generic to transmit and receive “an encrypted digital information

transmission” with “an instruct-to-enable signal.” Apple also has not shown that a “decryption

key” should be located by “processing said instruct-to-enable signal.” See Bascom Glob. Internet

Servs. v. AT&T Mobility LLC, Case No. 2015-1763, 2016 WL 3514158, at *6 (Fed. Cir. Jun. 27,

2016) (“[A]n inventive concept can be found in the non-conventional and non-generic

arrangement of known, conventional pieces.”). Because Apple has not shown claim 13 of the

’091 patent fails to disclose an inventive concept, the Court finds that Apple has not shown the

’091 patent is patent-ineligible.

       B.      The ’649 patent

       Apple says that claim 39 of U.S. Patent No. 7,752,649 (the “’649 patent”) is directed to

the abstract idea of “using information to decide which television program to display.” (Dkt. No.

34 at 24.) Apple asserts that claim 39 amounts to taking information from a “message stream”

and using it “to determine whether to process and display signals.” (Dkt. No. 34 at 24–25.) Apple

contends that claim 39 discloses no inventive concept. Apple says that “receiving,” “detecting,”



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and “inputting” a “message stream” into a control processor and using a controller to “select,”

communicate,” and “compare” data represent well-understood and conventional processes. (Dkt.

No. 34 at 26.)

        Claim 39 recites:

                 39. A method of processing signals in a television receiver,
                 said television receiver having a plurality of processors, said
                 method comprising the steps of:
                         receiving an information transmission including digital
                           television signals and a message stream;
                         detecting said message stream in said information
                           transmission;
                         inputting at least a first portion of said message stream to a
                           control processor;
                         selecting control information in said at least a first portion
                           of said message stream and communicating said
                           selected control information to at least one register
                           memory;
                         comparing stored function invoking data to the contents of
                           said at least one register memory;
                         inputting said digital television signals to said plurality of
                           processors on the basis of one or more matches;
                         processing of said digital television signals simultaneously
                           at two or more of said plurality of processors; and
                           displaying television programming included in said
                           digital television signals.

(’649 patent col. 290, l. 51–col. 291, l. 4.)

        The Court finds that claim 39 is directed to a method of using “control information” from

a “message stream” to control the input of “digital television signals” to two or more processors.

Furthermore, claim 13 states the signals should be processed “simultaneously.” (’649 patent col.

290, l. 51–col. 291, l. 4.)

        The Court finds that claim 39 is directed to a method of using “control information” from

a “message stream” to control the input of signals. Six of the seven steps in claim 39 are focused

on identifying and processing the “control information” to direct signal processing. The first



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three steps of the claim describe how the “control information” is delivered. The steps state the

“control information” is delivered as part of a “message stream.” The fourth step describes

selecting the “control information” from the “message stream” for storage in memory. The fifth

step states the “control information” should be “compared” to information in the memory.

Finally, the sixth step says if the “control information” matches the information in the memory,

the receiving device should input two or more received digitals into two or more processors. All

of these steps are focus on delivering and using the “control information.” Thus, the Court finds

that claim 39 is directed to using “control information” to control the input of “digital television

signals” into two or more processors.

        The Court finds that using “control information” to control the input of “digital television

signals” is not an abstract idea but a technological way of remotely directing the input of “digital

television signals” into two or more processors. For example, claim 39 could describe the use of

a receiving device that receives “digital television signals” and a “message stream.” The device

could then use the “control information” in the “message stream” to cause the input of the

“digital television signals” into two processors in the receiving device. The processors could

each process part of the “digital television signals” and display the content transmitted in the

“digital television signals” at the conclusion of processing. Processing “digital television signals”

in this specific manner does not describe an abstract idea and this mode of processing “signals”

does not amount to “using information to decide which television program to display.” Instead, it

describes a technological method of remotely controlling how signal processing works in a

receiving device. For this reason, the Court finds that claim 39 of the ’649 patent is not directed

at an abstract idea.




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        Even if claim 39 were directed to an abstract idea the Court finds the additional elements

of the claim to transform it into a patent-eligible application of that idea. See Alice, 134 S. Ct. at

2355. The Court finds the elements of claim 39 are arranged in a way that Apple has not shown

is conventional or generic.

       The parties would agree that all of the components described in the ’649 patent, such as a

“control processor” or “memory,” were well-known in the art before the priority date of the ’649

patent. The parties could also probably agree that a combination of bits that could generate a

“digital television signal” or something similar to “control information” were known in the art

before the priority date.

       However, that does not mean combining the elements so that a user can use “control

information” in a “message stream” to remotely direct “digital television signal” processing is

not an inventive concept. The language of claim 39 shows the claim is directed to only this

method of remotely controlling “digital television signal” processing. This method differs from

other possible methods of controlling “digital television signal” processing. For example, a user,

instead of using the method of claim 39 to control processing in a receiving device, could

preprogram a receiving device with processing instruction or send the “control information”

separately from the “digital television signals.” (See ’649 patent col. 3, ll. 1–5 (“This prior art is

limited. It only transmits data; it does not control data processing. No system is preprogrammed

to simultaneously control a plurality of central processing units, operating systems, and

pluralities of computer peripheral units.”); Bascom Glob. Internet Servs. v. AT&T Mobility LLC,

Case No. 2015-1763, 2016 WL 3514158, at *6 (Fed. Cir. Jun. 27, 2016) (“[A]n inventive

concept can be found in the non-conventional and non-generic arrangement of known,

conventional pieces.”). For this reason, the Court finds claim 39 of the ’649 patent discloses an



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inventive concept under step two of Mayo and does not claim an abstract idea that is patent-

ineligible under § 101.

          C.     The ’088 patent

          Apple contends that claim 14 of U.S. Patent No. 8,752,088 (the “’088 patent”) is directed

to the abstract idea of “monitoring how information is used.” (Dkt. No. 34 at 24.) Apple asserts

claim 14 recites using fundamental computing components programmed to perform well-known

steps on a signal. (Dkt. No. 34 at 25.) Apple contends that the claim does not recite an inventive

concept because the claim recites “input ports,” an “output port,” and a “processor” all of which

are “well-understood and conventional elements that provide no inventive concept.” (Dkt. No. 34

at 26.)

          Claim 14 recites:

                 14. A multimedia receiving apparatus for gathering information
                 on use of signals comprising:
                        a plurality of input ports for receiving multimedia signals;
                        an output port;
                        a processor operatively connected to said plurality of input
                          ports and said output port;
                        said processor programmed for:
                        identifying a signal from at least one of said plurality of
                          input ports;
                        passing said signal from said processor to said output port,
                          wherein a way the signal is passed from said output port
                          is based on said step of identifying;
                        communicating information on a use of said identified
                          signal, wherein the use of said identified signal comprises
                          information of the passing of said identified signal
                          based on said step of passing.

(’088 patent col. 285, ll. 42–57.)

          The Court finds that claim 14 is directed to an apparatus programmed so that “a way the

signal is passed” is based on the signal. The apparatus also communicates information on how

the signal should be used. (’088 patent col. 285, ll. 42–57.) The words of claim 14 show that the

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claim is directed to this apparatus because the main elements of the claim focus on the

programming of the “processor.” The three most descriptive elements of the claim recite

operations the processor performs on a signal. Specifically, the claim states the processor is

programmed such that “a way the signal is passed” is based on the signal. The claim also states

that the processor is programmed to communicate information on how the signal should be used.

The input and output port elements are not central to the claim. They describe only how the

signal is received and sent to the processor for use.

          The Court finds that claim 14 does not describe an abstract idea because, as stated above,

it recites an apparatus that is programmed to pass, and use, a signal in specific ways. The Court

further finds this describes a technological way of processing signals because it describes

specific traits that the processor looks at to determine how to operate on the signal. 3 For this

reason, the Court finds that claim 14 of the ’088 patent does not recite an abstract idea under step

one of Mayo.

          The Court also finds that PMC has shown claim 14 recites an inventive concept. PMC

asserts that “[i]t was not conventional or routine in 1981 to transmit or receive digital multimedia

content via computer networks or communicate signal usage information at the time.” (Dkt. No.

83 at 30.) Apple responds to this by noting that all of the components in the claim are “generic

computing components” and the claim does not recite any digital information elements. (Dkt.

No. 88 at 9.)

          The Court finds on a motion to dismiss, all disputed facts need to be viewed in the light

most favorable to the plaintiff. Thus, the Court accepts PMC argument that the way in which the

“processor” of claim 14 is programmed causes it to be a “very specific, concrete multimedia



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    The Court notes that it is unclear as how the use of a signal can “comprise[] information.”
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receiving apparatus configured . . . to receive and process content in multiple media formats and

communicate information on what programming is used.” (Dkt. No. 83 at 30.) The Court accepts

PMC’s argument because claim 14 is clearly directed to how the “processor” uses the recited

signals. Apple has not shown that the way in which the “processor” is programmed to use the

signals is generic or conventional. For example, Apple has not shown that a signal always need

to be passed based on how it is identified or that a signal need to be used based on “information

of the passing of said identified signal.” For these reasons, the Court finds that claim 14 of the

’088 patent is not directed at an abstract idea.

                                          CONCLUSION

       In conclusion, the Court RECOMMENDS that Apple’s Motion to Dismiss (Dkt. No. 14,

34.) be DENIED as to the issue of collateral estoppel. The Delaware court’s ruling on the ’304

patent does not prevent PMC from asserting that claim 1 of the ’635 patent and claim 13 of the

’091 patent are patent-eligible under § 101. The Court further finds that it more prudent to defer

the issue of the effect of collateral estoppel on claim 2 of the ’635 patent until summary

judgment. Thus, the Court RECOMMENDS that the parts of Apple’s Motion to Dismiss (Dkt.

No. 14, 34) which pertain to claim 2 of the ’635 patent be DENIED for only this reason. Finally,

the Court RECOMMENDS that Apple’s Motion to Dismiss (Dkt. No. 14, 34) be DENIED as to

claim 1 of the ’635 patent, claim 13 of the ’091 patent, claim 39 of the ’649 patent, and claim 14

of the ’088 patent. The Court finds Apple has not shown these claims are ineligible under § 101.

Apple has not shown these claims are directed to an abstract idea and fail to disclose an inventive

concept.

       A party’s failure to file written objections to the recommendations, findings, and

conclusions in this report by SEPTEMBER 27, 2016 shall bar that party from de novo review



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by the district judge of those recommendations, findings, and conclusions, except on grounds of

plain error, from appellate review of unobjected-to factual findings, and legal conclusions

accepted and adopted by the district court. Fed. R. Civ. P. 72(b)(2); see Douglass v. United

Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir. 1996) (en banc).
        SIGNED this 3rd day of January, 2012.
       SIGNED this 13th day of September, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE




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                                          Appendix A

       Comparison of PMC Claims At Issue in Amazon (D. Del.) and Apple (E.D. Tex.)
    Invalidated Claim 1 of the ’304 patent                 Claim 1 of the ’635 patent
          (asserted against Amazon)                         (asserted against Apple)
1. A method for controlling the decryption of   1. A method for controlling the decryption of
programming at a subscriber station, said       encrypted programming at a subscriber
method comprising the steps of:                 station, said method comprising the steps of:
receiving programming, said programming         receiving encrypted digital programming,
having a first encrypted digital control signal said encrypted digital programming having an
portion and an encrypted digital information    encrypted digital control signal;
portion;
detecting said first encrypted digital control  detecting said control signal;
signal portion of said programming;
passing said first encrypted digital control    passing said control signal to a decryptor that
signal portion of said programming to a         decrypts encrypted digital data at said
decryptor at said subscriber station;           subscriber station;
decrypting said first encrypted digital control decrypting said control signal;
signal portion of said programming using said
decryptor at said subscriber station;
passing said encrypted digital information
portion of said programming to said decryptor;
decrypting said encrypted digital information   decrypting said encrypted digital programming
portion of said programming using said          to form decrypted programming based on
decryptor at said subscriber station based on   said control signal; and
the decrypted control signal portion; and
presenting said programming.                    presenting said decrypted programming to a
                                                viewer or listener.

(Dkt. No. 34-2)

       Comparison of PMC Claims At Issue in Amazon (D. Del.) and Apple (E.D. Tex.)
    Invalidated Claim 1 of the ’304 patent                Claim 2 of the ’635 patent
          (asserted against Amazon)                         (asserted against Apple)
1. A method for controlling the decryption of   2. A method for controlling the decryption of
programming at a subscriber station, said       programming at a subscriber station, said
method comprising the steps of:                 method comprising the steps of:
receiving programming, said programming         receiving programming, said programming
having a first encrypted digital control signal having a first encrypted digital control signal
portion and an encrypted digital information    portion and an encrypted digital information
portion;                                        portion;
detecting said first encrypted digital control  detecting said first encrypted digital control
signal portion of said programming;             signal portion of said programming;
passing said first encrypted digital control    passing said first encrypted digital control
signal portion of said programming to a         signal portion of said programming to a first
decryptor at said subscriber station;           decryptor at said subscriber station;

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decrypting said first encrypted digital control    decrypting said first encrypted digital control
signal portion of said programming using said      signal portion of said programming using said
decryptor at said subscriber station;              first decryptor at said subscriber station;
passing said encrypted digital information         passing said encrypted digital information
portion of said programming to said decryptor;     portion of said programming and the
                                                   decrypted control signal portion to a second
                                                   decryptor at said subscriber station;
decrypting said encrypted digital information      decrypting said encrypted digital information
portion of said programming using said             portion of said programming using said second
decryptor at said subscriber station based on      decryptor at said subscriber station based on
the decrypted control signal portion; and          the decrypted control signal portion; and
presenting said programming.                       presenting said programming.

(Dkt. No. 34 at 11–12.)

       Comparison of PMC Claims At Issue in Amazon (D. Del.) and Apple (E.D. Tex.)
    Invalidated Claim 1 of the ’304 patent                 Claim 13 of the ’091 patent
          (asserted against Amazon)                         (asserted against Apple)
1. A method for controlling the decryption of   13. A method of decrypting programming at a
programming at a subscriber station, said       receiver station, said method comprising the
method comprising the steps of:                 steps of:
receiving programming, said programming         receiving an encrypted digital information
having a first encrypted digital control signal transmission including encrypted information;
portion and an encrypted digital information
portion;
detecting said first encrypted digital control  detecting in said encrypted digital information
signal portion of said programming;             transmission the presence of an instruct-
                                                toenable
                                                signal;
passing said first encrypted digital control    passing said instruct-to-enable signal to a
signal portion of said programming to a         processor;
decryptor at said subscriber station;
decrypting said first encrypted digital control determining a fashion in which said receiver
signal portion of said programming using said   station locates a first decryption key by
decryptor at said subscriber station;           processing said instruct-to-enable signal;
passing said encrypted digital information      locating said first decryption key based on said
portion of said programming to said decryptor; step of determining;
decrypting said encrypted digital information   decrypting said encrypted information using
portion of said programming using said          said first decryption key; and
decryptor at said subscriber station based on
the decrypted control signal portion; and
presenting said programming.                    outputting said programming based on said
                                                step of decrypting.

(Dkt. No. 34 at 14.)


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